Case 5:22-cv-02637-EJD Document 27-8 Filed 05/20/22 Page 1 of 3




               EXHIBIT H
      Case 5:22-cv-02637-EJD Document 27-8 Filed 05/20/22 Page 2 of 3

                                          755 PAGE MILL ROAD         MORRISON & FOERSTER LLP

                                          PALO ALTO                  AUSTIN, BEIJING, BERLIN, BOSTON,
                                                                     BRUSSELS, DENVER, HONG KONG,
                                          CALIFORNIA 94304-1018      LONDON, LOS ANGELES, NEW YORK,
                                                                     PALO ALTO, SAN DIEGO, SAN FRANCISCO,
                                          TELEPHONE: 650.813.5600    SHANGHAI, SINGAPORE, TOKYO,
                                                                     WASHINGTON, D.C.
                                          FACSIMILE: 650.494.0792

                                          WWW.MOFO.COM

                                                                      Writer’s Direct Contact
                                                                      +1 (650) 813-5603
                                                                      BWilson@mofo.com


April 29, 2022


Via Federal Express and Electronic Mail

Puneet Kumar
CEO, Rivos Inc.
2811 Mission College Ave, Floor 7
Santa Clara, CA 95054
puneet@rivosinc.com

Dear Mr. Kumar:

       We represent Apple Inc. Apple filed a complaint today in the United States District
Court for the Northern District of California naming Rivos and certain Rivos employees as
defendants. Apple filed this suit seeking the return of its confidential and trade secret
information and to prevent Rivos from exploiting Apple’s confidential and trade secret
information to compete with Apple unlawfully and unfairly.

       Apple wrote to Rivos on July 9, 2021, informing Rivos that the former Apple
employees Rivos had hired were subject to Apple’s Intellectual Property Agreement, and are
prohibited from retaining, using, or disclosing Apple confidential and trade secret
information. The letter requested further that any such information in the possession of
Apple’s former employees be returned immediately. Rivos never responded to that letter.

        As set forth in the attached complaint, it now appears that there are multiple former
Apple employees working for Rivos who retained Apple proprietary and trade secret
information relating to Apple’s SoC designs and technology after their resignation from
Apple. You are on notice that you need to take immediate steps to preserve all evidence
relating to your storage and use of Apple proprietary and trade secret information on or from
any device or storage drive, including but not limited to any external hard drives, cloud
backups, Time Machine backups, laptops, personal computers or tablets, mobile phones,
instant messaging applications, and email. This includes preservation of all metadata
associated with these actions and these devices. At this point, because a lawsuit has been
filed, you may not delete these items. We expect that Rivos will take these steps as well with
respect to any individual employees at Rivos who may have relevant evidence.

        In addition to preserving this information, Apple demands that you: (1) immediately
cease the use of all Apple proprietary and trade secret information, and confirm in writing


SF-4795056
      Case 5:22-cv-02637-EJD Document 27-8 Filed 05/20/22 Page 3 of 3




April 29, 2022
Page Two


that you have done so and that Rivos has not made use of any such proprietary or trade secret
information; (2) agree to a mutually agreeable plan with Apple to return to Apple all
proprietary and confidential information in a manner that will preserve the information and
all metadata associated with it; (3) agree to an inspection by a third-party digital forensics
analyst of any device or storage drive that contained or was used to access Apple proprietary
and trade secret information, including but not limited to any external hard drives, cloud
backups, Time Machine backups, laptops, personal computers or tablets, mobile phones,
instant messaging applications, and email; and (4) agree to a search of any Rivos network
location where any Apple proprietary and trade secret information may have been transferred
or stored.

       Please confirm in writing by no later than May 4, 2022 whether you will agree to the
requests above. Should you have any questions, we can be reached by email at
bwilson@mofo.com.

Sincerely,



Bryan Wilson

Enclosure




SF-4795056
